
702 S.E.2d 217 (2010)
RAYMOND
v.
NC POLICE BENEVOLENT ASS'N, INC., et al.
No. 230PA10.
Supreme Court of North Carolina.
September 23, 2010.
Kenneth R. Hunt, Asheville, for N.C. Police Benevolent Ass'n et al.
Frank J. Contrivo, for Langdon B. Raymond.
Katherine Lewis Parker, for North Carolina Advocates for Justice et al.
Joseph M. McGuinness, Elizabethtown, William J. Johnson, General Counsel, for National Association of Police Organizations.
The following order has been entered on the motion filed on the 21st of September 2010 by National Association of Police Organization for Extension of Time to File Amicus Brief:
"Motion Allowed by order of the Court in conference this the 23rd of September 2010."
